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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 CHICAGO DIVISION
                                       :
In re:                                 :
                                       :
   Luz Moreno                          :  Case No.: 19-04512
                                       :  Chapter 7
         Debtor.                       :  Judge Timothy A. Barnes
                                       :  *********************
                                       :

                     NOTICE OF MOTION WITH 30 DAY WAIVER

Notified via Electronic Filing

U.S. Trustee, Patrick S. Layng
Office of the United States Trustee, Region 11
219 S. Dearborn Street, Room 873
Chicago, IL 60604

R. Scott Alsterda
Nixon Peabody LLP
70 West Madison Street
Chicago, IL 60602

Vasilios S. Sarikas
Attorney for Luz Moreno
The Sarikas Law Group, LLC
6616 W Cermak Road
Berwyn, IL 60402
vss@slawus.com

Notified via US Postal Service

Luz Moreno
7122 S. Avers Ave.
Chicago, IL 60629

Luz Moreno
Ricardo Moreno
7122 S Avers Ave
Chicago, IL 60629




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Please take notice that on April 2, 2019, at 10:00 a.m., or as soon thereafter as I may be heard,
I shall appear before the Honorable Judge Timothy A. Barnes, 219 South Dearborn, Courtroom
744, Chicago, IL, 60604 or before any other Bankruptcy Judge who may be presiding in his/her
place and stead and shall then and there present the accompanying motion. At that time and
place you may attend if you so choose.

                                  AFFIDAVIT OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Notice along with
the attached motion upon the parties listed above, by causing same to be mailed in a properly
addressed envelope, postage prepaid, on 1st day of March, 2019, unless a copy was provided
electronically by the Clerk of the Court.

Date March 1, 2019                                        /s/ Todd J. Ruchman
                                                     Signature




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Notice of Motion with 30

Day Waiver was served on the parties listed below via e-mail notification:

   U.S. Trustee, Patrick S. Layng, Office of the United States Trustee, Region 11, 219 S.
   Dearborn Street, Room 873, Chicago, IL 60604

   R. Scott Alsterda, Nixon Peabody LLP, 70 West Madison Street, Chicago, IL 60602

   Vasilios S. Sarikas, Attorney for Luz Moreno, The Sarikas Law Group, LLC, 6616 W
   Cermak Road, Berwyn, IL 60402, vss@slawus.com

The below listed parties were served via regular U.S. Mail, postage prepaid, on March 1, 2019:

   Luz Moreno, 7122 S. Avers Ave., Chicago, IL 60629

   Luz Moreno and Ricardo Moreno, 7122 S Avers Ave, Chicago, IL 60629

       The undersigned hereby certifies that a copy of the foregoing Notice of Motion with 30

Day Waiver was served on all parties listed on the attached creditor matrix via regular U.S. Mail,

postage prepaid on March 1, 2019.

                                                        /s/ Todd J. Ruchman




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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   CHICAGO DIVISION
                                         :
In re:                                   :
                                         :
      Luz Moreno                         :  Case No.: 19-04512
                                         :  Chapter 7
         Debtor.                         :  Judge Timothy A. Barnes
                                         :  *********************
                                         :

MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND FOR ABANDONMENT
 OF PROPERTY OF THE ESTATE WITH 30 DAY WAIVER (FIRST MORTGAGE)

         Federal Home Loan Mortgage Corporation, as trustee for Freddie Mac Seasoned Credit

Risk Transfer Trust, Series 2017-2,as owner of the Related Mortgage Loan ("Creditor"), hereby

moves the Court ("Motion"), pursuant to 11 U.S.C. § 362(d) to lift the automatic stay and for

abandonment of property under Bankruptcy Code §554 with 30 day waiver as to real property

commonly referred toas 7122 S Avers Ave, Chicago, IL 60629 ("Property"). In support of the

states the following:

1.       This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334 and General Rule 2.33

         of the United States District Court for the Northern District of Illinois. This is a core

         proceeding under 28 U.S.C. § 157(b)(2). The venue of this case and this Motion are

         proper under 28 U.S.C. § 1408 and 1409.

2.       Luz Moreno (''Debtor'') filed a Chapter 7 case on February 20, 2019, ("Petition Date").

3.       As of the Petition Date, the Movant was the holder of a claim secured by the Property,

         more particularly described in the Mortgage ("Mortgage"), a copy of which is attached as

         Exhibit "A".



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4.       The above described Mortgage was given to secure a Note, ("Note"), dated March 30,

         2007 and made payable to the Movant in the original sum of $190,000.00. A copy of

         the Note is attached hereto as Exhibit "B".

5.       The Movant perfected an interest in the Property, more particularly described in the

         Mortgage, recorded in the Cook County Recorder's Office on April 5, 2007. Evidence of

         perfection is attached as Exhibit "A".

6.       The loan was modified as set forth in the Home Affordable Modification Agreement

         attached as Exhibit "C".

7.       Attached are redacted copies of any documents that support the claim, such as promissory

         notes, purchase order, invoices, itemized statements of running accounts, contracts,

         judgments, mortgages, and security agreements in support of right to seek a lift of the

         automatic stay and foreclose if necessary.

8.       As of February 27, 2019, the outstanding principal of the Note was $126,859.47 and the

         outstanding interest was $4,278.72.

9.       The Property is burdensome and/or of inconsequential value and benefit to the estate.

         Cause exists to lift the automatic stay under 11 U.S.C. § 362(d)(1) and/or 362(d)(2) for

         these reasons:

         a. Debtor has no equity in the Property. Movant believes that the Property has a value

            of $190,880.00 based on the Assessor's Value, which is attached hereto as Exhibit

            "D". As of February 27, 2019, the estimated principal balance is $126,859.47 with

            additional interest estimated at $4,278.72, escrow advance estimated at $1,913.92 and

            corporate advances estimated at $70,243.53 totaling a secured claim of approximately

            $203,295.64. After the costs of sale and payment of all liens on the Property, there

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           will be effectively no equity in this Property. Based upon the lack of equity in the

           Property, Movant asserts that the Property is burdensome and/or of inconsequential

           value and benefit to the estate.

       b. The Movant is not being adequately protected. Per the Note and Mortgage, payments

           are applied to the last month due. Based on the foregoing, Debtor has failed to make

           periodic payments to Creditor since April 1, 2018 through February 2019, with

           arrears totaling $9,012.47 as of February 27, 2019.

       WHEREFORE, Creditor prays for an Order Terminating the Automatic Stay of 11 U.S.C.

§ 362 of the Bankruptcy Code and for abandonment of property under Bankruptcy Code §554 as

to the Creditor and its principal, successors, heirs and assigns with respect to the subject property

located at 7122 S Avers Ave, Chicago, IL 60629. Additionally, Creditor requests the

Fed.R.Bankr.P. 4001(a)(3) be waived so that the Order Terminating the Automatic Stay have

immediate effect.

                                                      Respectfully submitted,

                                                          /s/ Todd J. Ruchman
                                                      Todd J. Ruchman (6271827)
                                                      Keith Levy (6279243)
                                                      Sarah E. Barngrover (28840-64)
                                                      Adam B. Hall (0088234)
                                                      Edward H. Cahill (0088985)
                                                      Umair M. Malik (6304888)
                                                      Manley Deas Kochalski LLC
                                                      P.O. Box 165028
                                                      Columbus OH 43216-5028
                                                      614-220-5611; Fax: 614-627-8181
                                                      Attorneys for Creditor
                                                      The case attorney for this file is Todd J.
                                                      Ruchman.
                                                      Contact email is
                                                      tjruchman@manleydeas.com


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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from

the Automatic Stay and for Abandonment of Property of the Estate with 30 day waiver (First

Mortgage) was served on the parties listed below via e-mail notification:

   U.S. Trustee, Patrick S. Layng, Office of the United States Trustee, Region 11, 219 S.
   Dearborn Street, Room 873, Chicago, IL 60604

   R Scott Alsterda, Nixon Peabody LLP, 70 West Madison Street, Suite 3500, Chicago, IL
   60602

   Vasilios S. Sarikas, Attorney for Luz Moreno, The Sarikas Law Group, LLC, 6616 W
   Cermak Road, Berwyn, IL 60402, vss@slawus.com

The below listed parties were served via regular U.S. Mail, postage prepaid, on March 1,
2019:

   Luz Moreno, 7122 S. Avers Ave., Chicago, IL 60629

   Luz Moreno and Ricardo Moreno, 7122 S Avers Ave, Chicago, IL 60629

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from the

Automatic Stay and for Abandonment of Property of the Estate (First Mortgage) was served on

all parties listed on the attached creditor matrix via regular U.S. Mail, postage prepaid on

March 1, 2019.
                                                          /s/ Todd J. Ruchman




19-007976_FXF
                  Case
Label Matrix for local    19-04512
                       noticing             Doc 12 PRAFiled  03/01/19
                                                       Receivables          Entered
                                                                   Management, LLC    03/01/19 11:48:01      Desc
                                                                                                  U.S. Bankruptcy     Main
                                                                                                                   Court
0752-1                                                  Document
                                                   PO Box 41021            Page    8 of 8         Eastern Division
Case 19-04512                                        Norfolk, VA 23541-1021                              219 S Dearborn
Northern District of Illinois                                                                            7th Floor
Eastern Division                                                                                         Chicago, IL 60604-1702
Fri Mar 1 09:47:48 CST 2019
Bank of America                                      Federal Home Loan Mortgage Corporation              JCPenny
PO BOX 2240                                          c/o Manley Deas Kochalski LLC                       6501 Legacy Dr.
Brea, CA 92822                                       P.O. Box 165028                                     Plano, TX 75024-3698
                                                     Columbus, OH 43216-5028


Manley Deas Kochalski LLC                            Nationstar Mortgage, LLC                            Sears/ CBNA
One East Wacker, Ste. 1250                           8950 Cypress Waters Blvd.                           PO Box 6282
Chicago, IL 60601-1980                               Coppell, TX 75019-4620                              Sioux Falls, SD 57117-6282



Synchrony Bank                                       Walmart                                             Luz Moreno
c/o PRA Receivables Management, LLC                  PO BOX 103027                                       7122 S. Avers Ave.
PO Box 41021                                         Roswell, GA 30076                                   Chicago, IL 60629-4317
Norfolk, VA 23541-1021


Patrick S Layng                                      Trustee R Scott Alsterda                            Vasilios S. Sarikas
Office of the U.S. Trustee, Region 11                Nixon Peabody LLP                                   The Sarikas Law Group, LLC
219 S Dearborn St                                    70 West Madison Street                              6616 W Cermak Road
Room 873                                             Suite 3500                                          Berwyn, IL 60402-2398
Chicago, IL 60604-2027                               Chicago, IL 60602-4224




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Federal Home Loan Mortgage Corporation            (d)Sears/CBNA                                       End of Label Matrix
                                                     PO Box 6282                                         Mailable recipients      14
                                                     Sioux Falls, SD 57117-6282                          Bypassed recipients       2
                                                                                                         Total                    16
